Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 1 of 11                  PageID #: 2287



                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAI‘I

 UNITED STATES OF AMERICA,                        CR. NO. 17-00101 LEK

               Plaintiff,
                                                  ORDER DENYING MOTION FOR
        vs.                                       DISQUALIFICATION OF JUDGE
                                                  LESLIE KOBAYASHI
 ANTHONY T. WILLIAMS (01),

               Defendant.



                                     INTRODUCTION

        Defendant Anthony T. Williams, proceeding pro se, moves to disqualify

 Judge Leslie E. Kobayashi under 28 U.S.C. §§ 144 and 455.1 Because Williams

 identifies no valid basis on which to remove Judge Kobayashi from this case, the

 Motion is DENIED.

                                      BACKGROUND

        This case involves a mortgage rescue scheme covering approximately 200

 properties and/or victims. On February 15, 2017, the grand jury indicted

 Defendants Anthony Williams and Annabel Cabebe on 11 counts of wire fraud, in


 1
  Because Section 144 requires that another judge be assigned to consider Defendant’s Motion to
 Disqualify, Judge Kobayashi referred the motion to Chief Judge J. Michael Seabright for
 reassignment. Dkt. No. 243. On April 27, 2018, the Motion for Disqualification was assigned to
 the undersigned; the case remains assigned to Judge Kobayashi pending a ruling on the Motion for
 Disqualification. Dkt. No. 245.
Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 2 of 11                   PageID #: 2288



 violation of 18 U.S.C. § 1343, and 19 counts of mail fraud, in violation of 18 U.S.C.

 § 1341. On March 28, 2018, the grand jury returned a Superseding Indictment

 against Defendants Williams, Cabebe, and Barbara Williams on 15 counts of wire

 fraud and 17 counts of mail fraud.2 Dkt. No. 154.

        On September 29, 2017, Magistrate Judge Kenneth Mansfield granted the

 government’s Motion to Detain Williams Without Bail.3 Dkt. No. 35. On

 March 19, 2018, Williams filed a Motion for Disqualification of Magistrate Judge


 2
   The Superseding Indictment describes Defendants’ businesses Mortgage Enterprise Investments
 (“MEI”) and The Common Law Office of America (“CLOA”) and the roles each of the
 Defendants played: Williams was the CEO of MEI, Barbara Williams was its CFO, and Cabebe
 organized meetings, brought in new clients, and notarized documents. Williams registered MEI
 with the Hawaii Department of Commerce and Consumer Affairs (“DCCA”) on or about June 24,
 2013, but never obtained the required licenses pursuant to Hawaii Revised Statutes, Chapter 454,
 to provide services as a mortgage loan originator, mortgage servicer, or mortgage servicer loan
 modification company. Dkt. No. 154. On September 29, 2017, the Magistrate Judge designated
 this case complex. Dkt. No. 187.
 3
   In reaching that determination, the court considered the fact that Williams was:

        convicted of felony offenses under number 17-74 CF 10A, in Broward County
        Florida. Defendant was convicted of, grand theft and unlawful filing or false
        documents or records against property, and was sentenced to 15 years
        imprisonment to be followed by 15 years of probation. Defendant was transported
        to Hawaii on a Writ and is currently serving his Florida sentence.

        Defendant was convicted of the unlicensed practice of law and false official
        statement, in Broward County, Florida, in case number 15-14566 CF 10A.
        Defendant also had a probation violation for a felony offense.

        On September 25, 2017, defendant indicated that he did not recognize the
        jurisdiction of this Court or the United States and that he was a sovereign.
        Defendant has a criminal history, which includes arrests for crimes of violence and
        failure to appear, with convictions for felony theft, and the offenses noted above.

 Dkt. No. 189.

                                                 2
Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 3 of 11                  PageID #: 2289



 Kenneth Mansfield, which is currently pending before Judge Kobayashi.4 Dkt. No.

 147.

        Trial in this matter is currently set for December 18, 2018. Dkt. No. 235.

                                        DISCUSSION

        Judge Kobayashi’s rulings on the unceasing series of motions and appeals

 filed by Williams cannot form the basis of a motion to disqualify—on their own,

 they are not proof of bias or misconduct. Nor, after a careful review of the record,

 has Judge Kobayashi “display[ed] a deep-seated favoritism or antagonism that

 would make fair judgment impossible.” Liteky v. United States, 510 U.S. 540, 555



 4
  The following is a non-exhaustive list of motions filed by Williams, stayed during the pendency
 of the motions to disqualify Judge Kobayashi and Judge Mansfield (Dkt. No. 247): Appeal of
 Magistrate Judge Decision, Dkt. No. 79; Motion For Injunction Against FDC For Retaliation, Dkt.
 No. 87; Appeal of Magistrate Decision re 132 Order on Motion for Miscellaneous Relief, Dkt. No.
 144; Motion For Rebuttal To Sworn Declaration Of Anthony Williams, Dkt. No. 146; Amended
 Second Motion for Order to Show Cause re 167, Dkt. No. 171; Motion for Government To Provide
 Criminal History of Defendant, Dkt. No. 173; Motion For Notice Of The Government’s Intent To
 Use Evidence, Dkt. No. 174; Sworn Motion Establishing Undisputed Facts And Request For
 Judicial Notice, Dkt. No. 176; Second Request For Mandatory Judicial Notice, Dkt. No. 178;
 Motion For Exposition Of Spiritual Warfare, Dkt. No. 179; Amended Motion to Show Cause re
 195 Third Motion to Show Cause, Dkt. No. 196; Motion To Determine Bankruptcy Status of the
 United States, Dkt. No. 219; Motion To Compel The Government Of The United States To
 Answer Whether They Are Bound By Federal Law, Dkt. No. 220; Motion For Third Request For
 Mandatory Judicial Notice, Dkt. No. 221; Sworn Motion For Non-Bar Counsel, Dkt. No. 236;
 Motion For Recognition As A Private Attorney General And A Sovereign, Dkt. No. 237; Second
 Motion For Exposition Of Spiritual Warfare, Dkt. No. 238; Motion Seeking Inspection Of Grand
 Jury Minutes, Attendance And Voting Records, Dkt. No. 239; Motion For Funds To Pay For
 Printing Of Legal Documents And Use Of The Trulincs System, Dkt. No. 240; Sworn Motion To
 Disbar Ronald Johnson For Prosecutorial Misconduct and Racism, Dkt. No. 242. The
 government, on April 11, 2018, filed a Motion for Judicial Determination of the Mental
 Competency of the Accused, Dkt. No. 197, which is also stayed pending a ruling on the present
 Motion for Disqualification. See Dkt. No. 243.

                                                3
Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 4 of 11         PageID #: 2290



 (1994). Williams seeks to disqualify Judge Kobayashi based on nothing more than

 conclusory and unsupported statements of bias.

       Because a reasonable person with knowledge of all facts of this case would

 have no reason to conclude that Judge Kobayashi’s impartiality might reasonably be

 questioned, Williams’ Motion is DENIED.

 I.    Applicable Legal Standards

       Williams brings his Motion pursuant to 28 U.S.C. §§ 144 and 455. Section

 144 provides:

             Whenever a party to any proceeding in a district court makes and
             files a timely and sufficient affidavit that the judge before whom
             the matter is pending has a personal bias or prejudice either
             against him or in favor of any adverse party, such judge shall
             proceed no further therein, but another judge shall be assigned to
             hear such proceeding.

             The affidavit shall state the facts and the reasons for the belief
             that bias or prejudice exists, and shall be filed not less than ten
             days before the beginning of the term at which the proceeding is
             to be heard, or good cause shall be shown for failure to file it
             within such time. A party may file only one such affidavit in
             any case. It shall be accompanied by a certificate of counsel of
             record stating that it is made in good faith.

       Section 455 provides, in relevant part:

             (a) Any justice, judge, or magistrate judge of the United States
                 shall disqualify himself in any proceeding in which his
                 impartiality might reasonably be questioned.




                                           4
Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 5 of 11              PageID #: 2291



             (b) He shall also disqualify himself in the following
                 circumstances:

                  (1) Where he has a personal bias or prejudice concerning a
                      party[.]

       “Under both recusal statutes, the substantive standard is whether a reasonable

 person with knowledge of all the facts would conclude that the judge’s impartiality

 might reasonably be questioned.” Pesnell v. Arsenault, 543 F.3d 1038, 1043 (9th

 Cir. 2008) (quotation marks and alterations omitted), abrogated on other grounds by

 Simmons v. Himmelreich, 136 S. Ct. 1843 (June 6, 2016). “The ‘reasonable

 person’ is not someone who is hypersensitive or unduly suspicious, but rather is a

 well-informed, thoughtful observer. . . . The standard must not be so broadly

 construed that it becomes, in effect, presumptive, so that recusal is mandated upon

 the merest unsubstantiated suggestion of personal bias or prejudice.” United States

 v. Holland, 519 F.3d 909, 913 (9th Cir. 2008) (internal citation and quotation marks

 omitted).

       Further, the alleged bias “must usually stem from an extrajudicial source.”

 Pesnell, 543 F.3d at 1044. In Liteky v. United States, the Supreme Court stated:

             First, judicial rulings alone almost never constitute a valid basis
             for a bias or partiality motion. . . . . In and of themselves . . . they
             cannot possibly show reliance upon an extrajudicial source; and
             can only in the rarest circumstances evidence the degree of
             favoritism or antagonism required . . . when no extrajudicial
             source is involved. . . . Second, opinions formed by the judge on


                                             5
Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 6 of 11            PageID #: 2292



                the basis of facts introduced or events occurring in the course of
                the current proceedings, or of prior proceedings, do not
                constitute a basis for a bias or partiality motion unless they
                display a deep-seated favoritism or antagonism that would make
                fair judgment impossible. Thus, judicial remarks during the
                course of a trial that are critical or disapproving of, or even
                hostile to, counsel, the parties, or their cases, ordinarily do not
                support a bias or partiality challenge. They may do so if they
                reveal an opinion that derives from an extrajudicial source; and
                they will do so if they reveal such a high degree of favoritism or
                antagonism as to make fair judgment impossible.

 510 U.S. 540, 555 (1994).

          “[E]xpressions of impatience, dissatisfaction, annoyance, and even anger are

 not grounds for establishing bias or impartiality, nor are a judge’s efforts at

 courtroom administration.” Pesnell, 543 F.3d at 1044 (internal quotation marks

 omitted) (quoting Liteky, 510 U.S. at 555–56). As detailed below, Williams fails to

 meet the relevant standards.

 II.      Williams’ Motion Is Denied

          Williams raises multiple allegations regarding Judge Kobayashi’s rulings and

 conduct during proceedings, which he claims evidence bias and favoritism toward

 the government. The accusations demonstrate Williams’ suspicion:

        “Judge Kobayashi has denied all motions submitted by Affiant without

          issuing the requisite findings of fact and conclusions of law to validate and

          substantiate her denial.” Williams Aff. ¶ 2.



                                              6
Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 7 of 11          PageID #: 2293




     “Judge Kobayashi [has] displayed prejudice and bias against the Affiant in

       favor of the prosecution by being condescending to Affiant and arguing the

       prosecution’s argument that Affiant is not entitled to adequate computer word

       processing and saving capabilities by stating affiant can continue to write his

       motions and have copies made as the prosecutor suggested.” Williams Aff.

       ¶ 3.

     “Judge Kobayashi [has] failed consistently to rule on pending motions of

       Affiant . . . the government appealed to Judge Kobayashi who has had since

       January to make a ruling but has failed to make a ruling either way which has

       caused immeasurable harm to Affiant in that he still is deprived of basic

       necessities to prepare for trial[.]” Williams Aff. ¶ 4.

     “Judge Kobayashi presided over a federal lawsuit filed against the State of

       Hawaii, State of Florida, State of Georgia, FBI, Attorney General and other

       defendants and dismissed the lawsuit stating that it didn’t have merit when the

       same lawsuit was first filed in the District of Columbia, which the judge found

       the lawsuit did have merit but stated it was filed in the wrong district and

       transferred to Hawaii.” Williams Aff. ¶ 5.

     “Judge Kobayashi presided over a foreclosure case of one of Affiant’s clients

       who sued Deutsche Bank for fraud and Kobayashi dismissed her complaint



                                           7
Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 8 of 11           PageID #: 2294



       disregarding all of the evidence the Affiant presented on the client’s behalf to

       prove the bank committed fraud.” Williams Aff. ¶ 6.

 These allegations of bias are plainly insufficient. The Court addresses each in turn.

       A.     No Evidence of Bias in Adverse Rulings

       Williams’ primary argument appears to be that Judge Kobayashi has

 exhibited bias against him through various adverse rulings. He asserts that she:

 denied all motions without issuing the requisite detailed findings to substantiate her

 denial; failed to timely rule on one of several pending appeals; dismissed a civil

 action filed by Williams, Civ. No. 16-00411 LEK-RLP, and dismissed another civil

 action in which he professes to have presented evidence on behalf of his “client,”

 Civ. No. 14-00342 LEK-RLP.

       Even assuming that Williams has accurately represented the nature of the

 purportedly adverse rulings—and it does not appear based upon the records in the

 file and submitted by the government that this is in fact so—it is well-established

 that “[u]nfavorable rulings alone are legally insufficient to require recusal, even

 when the number of such unfavorable rulings is extraordinarily high on a statistical

 basis.” Beverly Hills Bancorp v. Hine, 752 F.2d 1334, 1341 (9th Cir. 1984)

 (citation omitted); see also Leslie v. Grupo ICA, 198 F.3d 1152, 1160 (9th Cir. 1999)

 (“[Appellant’s] allegations stem entirely from the district court judge’s adverse



                                            8
Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 9 of 11                    PageID #: 2295



 rulings. That is not an adequate basis for recusal.”). “[O]pinions formed by the

 judge on the basis of facts introduced or events occurring in the course of the current

 proceedings, or of prior proceedings, do not constitute a basis for a bias or partiality

 motion unless they display a deep-seated favoritism or antagonism that would make

 fair judgment impossible.” Liteky, 510 U.S. at 555 (emphasis added).

        Williams’ disagreement with any adverse rulings should be raised in a proper

 appeal, not in a motion to disqualify.5

        B.      No Evidence of Condescension or Bias During Proceedings

        Williams also points to Judge Kobayashi’s comments or demeanor during a

 hearing, and asserts that she was “condescending to” him. See Williams Aff. ¶ 3.

        Williams, however, has provided no evidence of the alleged condescension.

 The Court has reviewed the transcript of the January 29, 2018 hearing before Judge

 Kobayashi on the appeal of the Magistrate Judge’s order regarding Williams’ access

 to courts, computer word processing and saving capabilities. Dkt. No. 256-1.

 Contrary to Williams’ assertions, the transcript evidences patience and fairness by




 5
  To the extent Williams takes issue with the pace of the court’s rulings on his continuous motions
 and appeals, the delay cited suggests neither evidence of bias nor any other ground for
 disqualification. The Court need not act immediately on each pending request, “nor act upon
 verbal inquiries/requests at hearings or conferences, particularly when such inquiries/requests
 have no legal basis. Plaintiff’s misunderstanding of the law and the remedies to which he is
 entitled should not be imputed to the Court as a failure to act.” Di Giustino v. SmarteCarte Co.,
 Inc., No. CV 16-00192 LEK-KSC, 2018 WL 1440214, at *7 (D. Haw. Mar. 22, 2018).

                                                 9
Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 10 of 11                        PageID #: 2296



 Judge Kobayashi towards both Williams and the government, by among other

 things, giving each side the same time limit for oral argument, and offering to allow

 more time for Williams to submit supplemental briefing if he elected to do so. The

 transcript from this particular proceeding, the only one offered to this Court by either

 side, reveals that Williams was treated respectfully.

           Moreover, the “judge’s conduct during the proceedings should not, except in

 the ‘rarest of circumstances’ form the sole basis for recusal under § 455(a).”

 Holland, 519 F.3d 909, 913-14 (citation omitted).6 In view of the record before the

 Court, Williams fails to demonstrate that Judge Kobayashi’s actions during the

 course of these proceedings are within the “rarest of circumstances” that would

 warrant her recusal or disqualification.



 6
     The following “circumstances” do not ordinarily mandate recusal:

           (1) Rumor, speculation, beliefs, conclusions, innuendo, suspicion, opinion, and
           similar non-factual matters; (2) the mere fact that a judge has previously expressed
           an opinion on a point of law or has expressed a dedication to upholding the law or a
           determination to impose severe punishment within the limits of the law upon those
           found guilty of a particular offense; (3) prior rulings in the proceeding, or another
           proceeding, solely because they were adverse; (4) mere familiarity with the
           defendant(s), or the type of charge, or kind of defense presented; (5) baseless
           personal attacks on or suits against the judge by a party; (6) reporters’ personal
           opinions or characterizations appearing in the media, media notoriety, and reports
           in the media purporting to be factual, such as quotes attributed to the judge or
           others, but which are in fact false or materially inaccurate or misleading; and
           (7) threats or other attempts to intimidate the judge.

 Clemens v. U.S. Dist. Court for Cent. Dist. of Cal., 428 F.3d 1175, 1178–79 (9th Cir. 2005)
 (citation omitted).

                                                    10
Case 1:17-cr-00101-LEK Document 257 Filed 06/05/18 Page 11 of 11        PageID #: 2297




                                  CONCLUSION

       Williams’ reliance on adverse rulings, perceived delays in ruling, and an

 allegedly condescending demeanor as the basis for his request is unfounded—none

 of his assertions would lead a reasonable person with knowledge of all the facts to

 conclude that Judge Kobayashi’s impartiality might reasonably be questioned.

 Accordingly, Defendant’s Motion for Disqualification of Judge Leslie Kobayashi,

 Dkt. No. 241, is DENIED.

       IT IS SO ORDERED.

       DATED: June 5, 2018 at Honolulu, Hawai‘i.




 U.S. v. Williams; CR. No. 17-00101-01 LEK; ORDER DENYING DEFENDANT’S MOTION
 FOR DISQUALIFICATION OF JUDGE LESLIE KOBAYASHI



                                          11
